       IN THE UNITED STATES DISTRICT COURT FOR THE
             MIDDLE DISTRICT OF PENNSYLVANIA

THE PENNSYLVANIA STATE
UNIVERSITY,
            Plaintiff,
                                      Case No. 4:21-cv-01091-MWB
      v.                              Hon. Matthew W. Brann

VINTAGE BRAND, LLC;                   JURY TRIAL DEMANDED
SPORTSWEAR, INC., dba PREP
SPORTSWEAR; CHAD
HARTVIGSON; ERIK
HARTVIGSON; MICHELLE
YOUNG,

                 Defendants.


   Plaintiff Penn State’s Brief in Opposition to 18 Intellectual Property
   Professors Motion for Leave to File Brief Amici Curiae in Support of
               Defendants’ Motion for Summary Judgment
                              I.     INTRODUCTION

      The facts in this case are not novel or particularly complex. The Defendants

sell t-shirts and other merchandise emblazoned with Penn State trademarks without

Penn State’s authorization. This conduct causes consumers to mistakenly believe

that Penn State is the source of Defendants’ merchandise or that Defendants are

otherwise affiliated with Penn State. This has long been deemed to be infringement

under the common law and is still infringement under the Lanham Act. Trademark

lawsuits regarding counterfeit and knock-off merchandise are filed in the federal

courts on a regular basis, and for the past century (at least), district judges have

decided these cases without assistance.

      Given these straightforward facts, there is no need here to permit the filing of

an amicus brief by 18 Law Professors that, rather than illuminating a specific third-

party concern, instead purports to advocate for a change in the law on behalf of the

“public interest.” Moreover, the Law Professor’s proposed amicus brief has little

utility as it largely cites to case law already offered by the parties and the Court, or,

in circular fashion, cites to the Law Professor’s own articles which in turn cite back

to that same case law. Finally, the Law Professors proposed brief is plainly not

relevant or desirable, where, instead of identifying authority or arguments not

considered by the Parties, it instead makes policy arguments and factual assertions

that are at odds with the record. For all of these reasons, the Law Professors’ pending


                                          -1-
Motion for leave to file an amicus brief in support of Defendants’ motion for

summary judgment should be denied.

                            II.    LEGAL STANDARD

      “[P]articipation as amici curiae at the trial, as opposed to the appellate level,

is rather more the exception than the rule.” Abu-Jamal v. Price, No. CIV. A. 95-618,

1995 WL 722518, at *1 (W.D. Pa. Aug. 25, 1995). This is because “[a]t the trial

level, where issues of fact as well as law predominate, the aid of amicus curiae may

be less appropriate than at the appellate level where such participation has become

standard procedure.” Alkaabi, 223 F. Supp. 2d at 592 n.16 (quoting Yip, 606 F. Supp.

at 1568). The decision to accept or reject an amicus filing is entirely within the

district court’s discretion. See Waste Mgmt. of Pennsylvania, Inc. v. City of York,

162 F.R.D. 34, 36 (M.D. Pa. 1995).

      The district courts are guided in their decisions in accepting or rejecting

amicus briefs using the Third Circuit’s standard, under which “a motion for leave to

file [an amicus brief] should be denied if the movant does not meet the requirements

of (a) adequate interest, (b) desirability, and (c) relevance…” See Feesers, Inc. v.

Michael Foods, Inc., No. 1:CV-04-0576, 2006 WL 8448763, at *1 (M.D. Pa. Mar.

21, 2006) (quoting Neonatology Assocs., P.A. v. Comm'r of Internal Revenue, 293

F.3d 128, 131 (3d. Cir. 2002)). Additional factors in the court’s decision are whether

“(1) the amicus has a ‘special interest’ in the particular case; (2) the amicus’ interest

                                        -2-
is not represented competently or at all in the case; (3) the proffered information is

timely and useful; and (4) the amicus is not partial to a particular outcome in the

case. Id.; see also Sciotto v. Marple Newtown Sch. Dist., 70 F. Supp. 2d 553, 555

(E.D. Pa. 1999) (citations omitted); Land v. Delaware River Basin Comm'n, No.

3:16-CV-00897, 2016 WL 7256945, at *1 (M.D. Pa. Dec. 15, 2016) (“[a]mici status

is typically granted where the following conditions are present.”).

                                III.   ARGUMENT
      A.     The Amici Do Not Have an Adequate Interest in this Case
      When evaluating a potential amici’s proffered interest in a case, courts within

this Circuit look to whether its “…interests…would be ultimately and directly

affected by the court’s ruling on the substantive matter before it.” See, e.g., Yip v.

Pagano, 606 F.Supp. 1566, 1568 (D.N.J. 1985) aff’d, 782 F.2d 1033 (3d Cir. 1986).

It is the potential amici’s burden to demonstrate that it has a “particularized kind of

special interest” appropriate for amici status. See Land v. Delaware River Basin

Comm'n, No. 3:16-CV-00897, 2016 WL 7256945, at *2 (M.D. Pa. Dec. 15, 2016)

(quoting Sciotto v. Marple Newtown Sch. Dist., 70 F. Supp. 2d 553, 555 (E.D. Pa.

1999)). Here the amici acknowledge that they “have no personal interest in this case

[and their] sole interest is in the orderly development of trademark law in a way that

serves the public interest, in part by balancing legitimate trademark interests, free

expression, and informed and competitive markets.” Dkt. 131 at 6. While promoting



                                       -3-
the “orderly development of trademark law in a way that serves the public interest”

may be a laudable goal, it is, by definition, not a “particularized kind of special

interest” that justifies leave to file an amicus brief. In fact, Plaintiff would submit it

shares this interest, and is adequately representing it in this case.

      Am. Coll. of Obstetricians & Gynecologists, Pennsylvania Section v.

Thornburgh is on point. In that case the Third Circuit Court of Appeals denied a

group of law professors’ motion for leave to file an amicus brief, stating:

      The [30] law professors do not purport to represent any individual or
      organization with a legally cognizable interest in the subject matter at
      issue, and give only their concern about the manner in which this
      court will interpret the law as the basis for their brief. Since there is no
      indication that the parties to the lawsuit and those parties who have
      been granted leave to file a brief amicus curiae will not adequately
      present all relevant legal arguments, there is no persuasive reason to
      grant the motion . . ..
699 F.2d 644, 645 (3d Cir. 1983).

      The same reasoning applies here. The amici here do not claim to represent any

individual, organization, distinct group, or even their very own interests. An interest

in the public interest is simply far too generalized and not a persuasive reason to

grant the Law Professors’ motion. See Dobson Mills Apartments, L.P. v. City of

Philadelphia, No. 21-CV-273, 2022 WL 558348, at *1 (E.D. Pa. Feb. 23, 2022)

(denying the Associated Builders and Contractors Eastern Pennsylvania Chapter Inc.

leave to file an amicus brief, deeming them “merely a trade association with a

generalized interest in Section 8(e) of the National Labor Relations Act”) (citations

                                         -4-
omitted)); Panzer v. Verde Energy USA, Inc., No. CV 19-3598, 2021 WL 2186422,

at *2 (E.D. Pa. May 27, 2021) (denying leave to file amicus brief because

“amici…[have] at most shown a generalized interest in preserving access to justice

through class actions, which is insufficient to justify its participation in this case.”);

Sciotto, 70 F. Supp. 2d at 555 (where the court found that movant’s “generalized

interest in all cases related to school district liability and insurance ... is not the kind

of special interest that warrants amicus status.”). The Law Professors’ claimed

interest stands in stark contrast to cases where leave to file an amicus at the district

court level was granted. See, e.g., Land, No. 3:16-CV-00897, 2016 WL 7256945, at

*2 (movants were members of associations and councils that had specialized and

particularized oversight over the affected geographical region’s property rights and

values, railroad use, and regional commercial business).

       B.     The Amici’s Interest Is Already Represented in This Case
       District courts have routinely denied leave to file an amicus brief wherein the

brief was deemed unnecessary given that the parties were adequately represented.

See Abu-Jamal v. Horn, No. CIV. A. 99-5089, 2000 WL 1100784, at *3 (E.D. Pa.

Aug. 7, 2000) (citing Sciotto, 70 F.Supp.2d at 555); see also Goldberg v. City of

Philadelphia, No. CIV. A. 91-7575, 1994 WL 369875, at *1 (E.D. Pa. July 14, 1994)

(“[i]f the court feels that the parties are adequately represented so that amicus

participation is neither necessary nor helpful, it should deny amicus curiae


                                          -5-
participation.”). Here the amici have made no claims that their additional filings are

necessary because the Defendants are inadequately represented. As in Horn, the

Defendants here have the “benefit of privately-retained counsel,” who are “[b]y all

appearances…highly qualified to represent [them] in this matter.” See Horn, No.

CIV. A. 99-5089, 2000 WL 1100784, at *3. Notably, as the amici disclose in a

footnote, Defendants are already represented by law professors at Lex Lumina,

including the authors of some the articles that amici cite. Dkt. 132 at 3 n.1.

        This existing competent representation is demonstrated by the fact that in

large part, the proposed amicus brief merely reiterates arguments or legal issues

already raised by Defendants or this Court. See Panzer, No. CV 19-3598, 2021 WL

2186422, at *2 (leave to file amicus brief should be denied when it repeats arguments

made by the parties); Feesers, Inc., No. 1:CV-04-0576, 2006 WL 8448763, at *2

(denying leave where proposed brief did not make significant original contributions

beyond arguments made by the parties). Defendants in the present matter have

already briefed, at length, the very same arguments, citing much of the same caselaw

and authorities, as that proffered by the 18 professors in their proposed amici brief.

As a result, the proposed amici brief merely serves to extend the length of

Defendants’ already-filed briefs, and unfairly prejudice Penn State without adding

more.




                                       -6-
      As merely representative examples, the Court already noted that “Vintage

Brand contends that consumers believe that the essence of [the University’s] marks

is to signal their support for the University, not that the University has produced,

approved, or guaranteed the quality of the item.” See Dkt. 43 at 6. This is the very

same argument asserted by the amici in their proposed brief that “[s]tudents wear

shirts bearing their university’s name to signal their association…[s]ports fans wear

their…jerseys on Sunday to demonstrate their support for their team.” See Dkt. 132

at 23; see also Dkt. 131-3 at 10, 16, 20. This Court has already navigated this

argument without the guidance of the amici, noting that “[t]hese arguments are

nothing new.” See Dkt. 43 at 6.

      Additionally, both the Defendants, Defendants’ expert, and the amici attack

Plaintiff’s surveys (surveys which, ironically, were crafted by a law professor). The

amici would have the Court believe that their involvement in this case will help guide

the Court into rearticulating the standards for evaluating survey evidence, namely

that “…asking if a consumer associates the appearance of a trademark with its

owner…will overestimate consumer confusion and lead to mistaken legal

outcomes,” and that “…surveys should not ask whether consumers believe

permission is required to use another’s trademark.” See Dkt. 131 at 18. However,

the Defendants already assert, at length, in their summary judgment brief that Penn

State’s survey is “fundamentally flawed” because “…very many of the… ‘confused’


                                       -7-
responses were attributable to respondents’ beliefs that anyone referencing the

University must have legal permission.” See Dkt. 115 at 31. As Defendants have

already made this argument, there is no need for the amici to make it again,

particularly since it is at odds with Plaintiff’s actual survey (which employed classic

Eveready questions which have been approved by many courts) and the relevant

authority. Pebble Beach Co. v. Tour 18 I, Ltd., 155 F.3d 526, 48 U.S.P.Q.2d 1065,

1077 (5th Cir. 1998) (holding that the survey question “did defendant get

permission?” was a proper inquiry and was probative of confusion); M.A. Lemley,

The Modern Lanham Act and the Death of Common Sense, 198 Yale L.J. 1687, 1708,

n.106 (1999) (“[I]f we are committed to basing trademark doctrine on consumer

reactions, we are probably stuck with those reactions even if the law itself initially

helped to create them.”).

      C.     The Amici’s Input is Not Relevant or Useful
      The proposed amicus offers much heat but little light. Amici’s brief consists

primarily of policy arguments, focuses on out-of-Circuit case law rather than binding

authority, seeks to assert facts that are not in the record, and does not fairly represent

the academic literature on these issues. This is not useful, and does not justify filing

an amicus brief.




                                         -8-
      1.     The Amici Assert Policy Arguments That Are Not Appropriate
             for Summary Judgment

      Amici contend that trademark law has gone off course, that existing

merchandising rights are overbroad, and that consumers and competition are harmed

by existing precedent. In other words, the brief primarily consists of policy

arguments, most of which either lack citation altogether, or cite to other articles by

law professors. In particular, the proposed brief’s remarkable suggestion that the

Court should apply one type of analysis to trademarks held by “cultural institutions”

(an intriguingly vague categorization that encompasses both research universities

and pro sports teams) and perhaps another type of analysis to everyone else (Dkt.

132 at 15), has absolutely no basis in the Lanham Act or common law. See, e.g., 4

McCarthy on Trademarks and Unfair Competition § 24:9 (5th ed.) §§ 9:5, 9:6, 9:7,

9:7.5 (collecting many cases affirming the applicability of trademark law to

institutions). This (along with a paucity of references to the Lanham Act’s statutory

language) further flags that the Law Professors are offering policy proposals rather

than helping the court to understand the actual state of the law.

      Policy arguments, unfortunately, are particularly irrelevant at the summary

judgment stage, as they “do not substantively assist the court in determining whether

the undisputed facts establish that any of the moving parties are ‘entitled to judgment

as a matter of law”. Feesers, Inc., No. 1:CV-04-0576, 2006 WL 8448763, at *2.



                                       -9-
Critically, courts in this Circuit have found that “[w]hile policy arguments are

certainly interesting and perhaps helpful at the appellate level, they are not the

currency of a trial court…if policy arguments are to be the [movants] only

contribution…the judicial process is better served if the [movant] did not contribute

at the district court level.” See Sciotto, F. Supp. 2d at 556 (where the movant’s

contribution was its perspective on “the significant effect [of this case] on all public

school entities and on the insurance marketplace.”).

      As it largely consists of policy arguments, leave should not be granted to file

the proposed amicus brief.

      2.     The Amici Ask the Court to Disregard Applicable Authority
      Amici also make arguments that are not specific or helpful to this case. The

amici’s entire proposed brief seeks to correct a claimed mistake made by the Fifth

Circuit in deciding Boston Pro. Hockey Ass’n, Inc. v. Dallas Cap & Emblem Mfg.,

Inc., 510 F.2d 1004 (5th Cir. 1975) and resolve an alleged split between the Fifth

Circuit, the Eleventh Circuit, the Ninth Circuit, and the Tenth Circuit on this point.

See Dkt. 131 at 11-13. While the amici, notably without citing to the Third Circuit,

urge the Court to review “incongruent case law . . . to inject much-needed clarity

into the law,” this is entirely unnecessary. See Dkt. 132 at 18-22. The Court can

(and should) apply the standard likelihood of confusion analysis under the Lapp

factors. Arrowpoint Cap. Corp. v. Arrowpoint Asset Mgmt., LLC, 793 F.3d 313, 319


                                        - 10 -
(3d Cir. 2015); see also Interpace Corp. v. Lapp, Inc., 721 F.2d 460, 463 (3d Cir.

1983).

      3.     The Amici Rely on Unsupported Factual Assertions

      Finally, least helpful, amici’s brief purports to inject additional facts into the

record, facts that require an evidentiary foundation that has not been created by the

Defendants. As merely representative examples, the amici here assert, without

support, that “ . . . it is almost certainly the case that a significant number of

consumers do not view trademarks in the . . . merchandising context as identifying

source or sponsorship . . . [and] purchase merchandise…not because the trademark

tells them who stands behind…the merchandise,” but because they are participating

in “expressive [trademark] uses.” See Dkt. 132 at 18. Furthermore, amici assert that

Vintage Brand’s designs “fulfill a unique market niche that the trademark owners

did not exploit. . . . [and give] at least some consumers a product they wanted and

would not have otherwise had.” See Dkt. 132 at 24. These are factual assertions, but

are not backed by any evidence whatsoever, and thus should not be considered via

amicus brief at summary judgment.

      4.     The Amici Do Not Accurately Explain the Law
      Finally, amici’s arguments are not helpful because they misapprehend the law.

It is not relevant to likelihood of confusion at summary judgment whether or not

consumers buy Vintage Brand’s merchandise in order to express allegiance to Penn


                                       - 11 -
State. In the context of merchandising, modern trademark law “…condemns any use

by a third party that is likely to cause confusion as to a mark owner’s sponsorship of

or affiliation with a third party’s use, whether or not such relationship is material to

consumers’ purchasing decisions.” See Mark P. McKenna, The Normative

Foundations of Trademark Law, 97 TRADEMARK REP. 1126, 1193 (2007). Contrary

to the amici’s argument that the Court must use this opportunity to “…help correct

consumers’ misconceptions about institutional merchandising,” (Dkt. 132 at 27), in

the merchandising and licensing context, “…rights are bounded only by consumer

understanding.” See id. (emphasis added) (stating that “[i]f consumers believe that a

Yankees logo on a hat suggests the Yankees endorsed the marker of the hat, then the

Yankees have the right to control that use.”); see also Dkt. 132 at 22-23. While the

amici purport to be interested in protecting the public and reshaping their perceptions

on “…what trademark law requires,” the fact remains that trademark law must

follow consumer perception and not vice versa. See Mark P. McKenna, The

Normative Foundations of Trademark Law, 97 TRADEMARK REP. at 1193 (2007)

(discussing that if consumer beliefs regarding the use of marks on merchandise even

approximates the available evidence suggesting that consumers believe trademarks

are subject to substantial control, then modern trademark law must respond); see

also Dkt. 131 at 17-19.




                                        - 12 -
                             IV.    CONCLUSION

      For the reasons set forth above, the Law Professor’s Motion should be denied.

Dated: June 23, 2023

                                      Respectfully submitted,

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                                     - 13 -
      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.8(b)

      The undersigned certifies that Penn State’s Brief complies with the Length

Limits set forth under Local Rule 7.8(b), and contains less than 5,000 words.

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                                      - 14 -
                         CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing document with the
Clerk of the Court using the CM/ECF system on this 23 day of June, 2023, which
constitutes service on Defendants pursuant to Fed. R. Civ. P. 5(b)(2)(E):

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                                     - 15 -
